                                                             Case 2:23-cv-02161-GMN-MDC Document 42 Filed 06/21/24 Page 1 of 2



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                                                        7
                                                                                   UNITED STATES DISTRICT COURT
                                                        8
                                                                                            DISTRICT OF NEVADA
                                                        9
                                                          SONIA ESPARZA, individually and as          Case Number: 2:23-cv-02161-JCM-VCF
                                                       10 Special Administrator of the Estate of
                                                          FERNANDO MARTINEZ JR.,
                                                       11                                                STIPULATION AND ORDER TO
                                                                                Plaintiffs,             EXTEND DEFENDANTS SHERIFF
                                                       12                                                KEVIN MCMAHILL AND FRED
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                                 vs.                                   HAAS’S RESPONSIVE PLEADING TO
                                                       13                                                PLAINTIFFS’ FIRST AMENDED
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                          WELLPATH, LLC; LAS VEGAS                                 COMPLAINT
                                                       14 METROPOLITAN POLICE
                                                          DEPARTMENT; SHERIFF KEVIN                            (FIRST REQUEST)
                                                       15 MCMAHILL; DEPUTY CHIEF FRED
                                                          HAAS; DOES 1-20,
                                                       16
                                                                                Defendants,
                                                       17
                                                          FERNANDO MARTINEZ SANTOS
                                                       18
                                                                                Nominal Defendant.
                                                       19

                                                       20          Plaintiffs, Sonia Esparza, individually, and as Special Administrator for the Estate of
                                                       21 Fernando Martinez, Jr. (“Plaintiffs”), by and through their counsel of record, Peter Goldstein

                                                       22 Esq., of Peter Goldstein Law Corp. and Defendants, Sheriff Kevin McMahill and Fred

                                                       23 Haas’s (“Defendants”), by and through their counsel of record, Craig R. Anderson, Esq. and

                                                       24 Kaden P. Killpack, Esq., of Marquis Aurbach, hereby agree and jointly stipulate to the

                                                       25 following:

                                                       26          1.     Defendants Sheriff Kevin McMahill and Fred Haas were served with the First
                                                       27 Amended Complaint on May 29, 2024 [ECF No. 33];

                                                       28
                                                                                                    Page 1 of 2
                                                                                                                                      MAC:14687-486 5515555_1
                                                             Case 2:23-cv-02161-GMN-MDC Document 42 Filed 06/21/24 Page 2 of 2



                                                        1          2.     Defendants Sheriff Kevin McMahill and Fred Haas’ response to Plaintiffs’
                                                        2 First Amended Complaint is due June 20, 2024;

                                                        3          3.     Defendants Sheriff Kevin McMahill and Fred Haas are unable to meet the
                                                        4 deadline of June 20, 2024 to file a response to Plaintiffs’ First Amended Complaint;

                                                        5          4.     The Parties have agreed to a two-week extension for Defendants Sheriff
                                                        6 Kevin McMahill and Fred Haas to respond to Plaintiffs’ First Amended Complaint;

                                                        7          5.     Accordingly, the deadline for Defendants Sheriff Kevin McMahill and Fred
                                                        8 Haas’ response to Plaintiffs’ First Amended Complaint, currently due on June 20, 2024, be

                                                        9 extended to and include Friday, July 5, 2024;

                                                       10          6.     This is the Parties’ first request to extend the deadline for Defendants Sheriff
                                                       11 Kevin McMahill and Fred Haas’ response to Plaintiffs’ First Amended Complaint; and

                                                       12          7.     This Stipulation is being entered in good faith and not for purposes of delay.
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                       13          IT IS SO STIPULATED.
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                       14 Dated this 20th day of June, 2024                Dated this 20th day of June, 2024
                                                       15 PETER GOLDSTEIN LAW CORP                         MARQUIS AURBACH

                                                       16 By:      /s/ Peter Goldstein                     By:      /s/ Kaden P. Killpack
                                                                Peter Goldstein, Esq.                            Craig R. Anderson, Esq.
                                                       17       Nevada Bar No. 6992                              Nevada Bar No. 6882
                                                                10161 Park Run Drive, Suite 150                  Kaden P. Killpack, Esq.
                                                       18       Las Vegas, Nevada 89145                          Nevada Bar no. 16560
                                                                Attorneys for Plaintiffs                         10001 Park Run Drive
                                                       19                                                        Las Vegas, Nevada 89145
                                                       20                                                        Attorneys for Defendants LVMPD,
                                                                                                                 McMahill and Haas
                                                       21

                                                       22                                            ORDER

                                                       23          The above Stipulation is hereby GRANTED.

                                                       24          IT IS SO ORDERED:

                                                       25
                                                                                                  _______________________________________
                                                       26
                                                                                                  UNITED STATES MAGISTRATE JUDGE
                                                       27
                                                                                                           6-21-24
                                                                                                  DATED: __________________
                                                       28
                                                                                                    Page 2 of 2
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